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                                                             FILED: April 10, 2017

                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT

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                                   No. 16-2101
                               (3:15-cv-00051-REP)
                              ___________________

AMANGOUA J. BILE

             Plaintiff - Appellant

v.

RREMC, LLC DENNY'S RESTAURANT; DENNY'S CORPORATION

             Defendants - Appellees

                              ___________________

                                   ORDER
                              ___________________

       Upon consideration of the stipulated motion to voluntarily dismiss, the court

dismisses this appeal, upon such terms as have been agreed to by the parties,

pursuant to Rule 42(b) of the Federal Rules of Appellate Procedure.

                                       For the Court--By Direction

                                       /s/ Patricia S. Connor, Clerk
